Case 2:23-cv-02687-SVW-JC                   Document 76 Filed 11/08/24                    Page 1 of 1 Page ID
                                                  #:1181
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:


                                                                     2:23−cv−02687−SVW−JC
 THAT ONE VIDEO ENTERTAINMENT LLC
                                                  Plaintiff(s),

          v.
 KOIL CONTENT CREATION PTY LTD., et al.
                                                Defendant(s).
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                                             FILED DOCUMENT




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your filed document:

 Date Filed:         11/7/2024
 Document No.:             75−3
 Title of Document: [Proposed] ORDER GRANTING DEFENDANTS MOTION FOR
 ATTORNEYS FEES, COSTS
 ERROR(S) WITH DOCUMENT:

 Judge Stephen V. Wilson's name is spelled incorrectly on the proposed order.




 Other:

 Note:    In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
          document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in
          response to this notice unless and until the Court directs you to do so.


                                                       Clerk, U.S. District Court

 Dated: November 8, 2024                               By: /s/ Alison Bandek alison_bandek@cacd.uscourts.gov
                                                          Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

 G−112A(06/24) NOTICE TO FILER OF DEFICIENCIES IN FILED DOCUMENTS
